Case 1:10-cr-00101-KD-C           Doc# 76      Filed 10/25/10      Page 1 of 2   PageID# 231




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA                             *
                                                     * CRIMINAL NO. 10-001-1-KD-C
v.                                                   *
                                                     *
DENNIS J. McMILLIAN                                  *

                         PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, on August 6, 2010, the Defendant agreed to the entry of a Preliminary Order

of Forfeiture including a money judgment in the amount of $2,500,000.00, more or less,

jointly and severally payable, representing proceeds from the offenses alleged in the

Indictment, for which the Defendant has entered a guilty plea, and

       WHEREAS, the United States has filed a Motion for Entry of Preliminary Order of

Forfeiture (Doc. 75) which would consist of a personal money judgment against the Defendant in

the amount of $2,500,000.00, more or less, jointly and severally payable, and

       WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the

extent that the forfeiture consists of a money judgment,"

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

the Defendant shall forfeit to the United States the sum of $2,500,000.00, jointly and severally

payable, pursuant to Title 18, United States Code, Section 982(a)(2) and Title 28, United States

Code, Section 2461(c).

       IT IS FURTHER ORDERED that the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this Order; and




                                                 1
Case 1:10-cr-00101-KD-C          Doc# 76     Filed 10/25/10     Page 2 of 2      PageID# 232




       IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of Forfeiture

shall become final as to the defendant at the time of sentencing and shall be made part of the

sentence and included in the judgment; and

       IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to

Rule 32.2(e) to amend this Preliminary Order of Forfeiture to substitute property having a value

not to exceed $2,500,000.00, jointly and severally payable, to satisfy the money judgment in

whole or in part; and

       IT IS FURTHER ORDERED that the Clerk of the Court shall forward five (5) certified

copies of this Order to United States Attorney's Office, Southern District of Alabama, Attention:

Assistant U. S. Attorney John G. Cherry.

       DONE and ORDERED this the 22nd day of October 2010.


                                                    /s/ Kristi K. DuBose
                                                    KRISTI K. DuBOSE
                                                    UNITED STATES DISTRICT JUDGE




                                               2
